Case 3:15-md-02670-DMS-MDD Document 2950 Filed 12/02/22 PageID.254216 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   IN RE: PACKAGED SEAFOOD                          Case No.: 15md2670 DMS(MDD)
12   PRODUCTS ANTITRUST LITIGATION
                                                      ORDER STAYING DECISION ON
13   This Document Relates To:                        PENDING MOTION
14   Associated Wholesale Grocers, Inc. v.
     Bumble Bee Foods LLC, et al., Case
15   No. 3:18-cv-01014
16
17         In light of the upcoming depositions of Messrs. Hodge, Cameron and Worsham, the
18   Court will stay issuance of its ruling on Plaintiff’s Motion for Partial Summary Judgment
19   Against Defendant Christopher Lischewski. Counsel and Mr. Lischewski should be
20   prepared to address during the February 1, 2023 status conference whether any additional
21   briefing on that motion is warranted in light of those depositions.
22         IT IS SO ORDERED.
23   Dated: December 2, 2022
24
25
26
27
28

                                                  1
                                                                            15md2670 DMS(MDD)
Case 3:15-md-02670-DMS-MDD Document 2950 Filed 12/02/22 PageID.254217 Page 2 of 2



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          2
                                                                   15md2670 DMS(MDD)
